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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


 TALIA N. HARRISON,

                 Plain�ﬀ,

         vs.                                                  Civil Ac�on No. 4:21-cv-607-ALM

 TYLER TECHNOLOGIES, INC.,

                 Defendant.


                                  REPLY IN SUPPORT IN SUPPORT PLAINTIFF’S
                              MOTION FOR AWARD OF ATTORNEY’S FEES AND COSTS

Plain�ﬀ Talia N. Harrison ﬁles this Reply in support of her Mo�on for an order awarding atorney’s fees
and costs of li�ga�on pursuant to 29 U.S.C. § 216(c), showing the Court as follows:

1.      Introduc�on

        Plain�ﬀ had a single overtime claim in this case. Defendants raised numerous complete and
par�al defenses and succeeded on one par�al defense at summary judgment, rela�ng to one of the two
posi�ons that Plain�ﬀ worked in. Now, Defendant argues that Plain�ﬀ’s award of atorney’s fees should
be reduced by nearly two thirds. It makes several incorrect asser�ons of both fact and law in support of
that argument.

         More than a year ago, Plain�ﬀ oﬀered to setle this case for $20,000 plus fees and costs at
media�on. Exhibit 1 hereto (correspondence from opposing counsel and mediator’s proposal from Bill
Pryor). This occurred before signiﬁcant discovery, before mo�on prac�ce, and long before summary
judgment. Defendant rejected that oﬀer. A�er summary judgment, which Defendant says was a
complete disaster for Plain�ﬀ, Plain�ﬀ obtained a setlement for $23,000 plus fees and costs. That
favorable outcome is the supposed “lack of success” on which Defendant primarily bases its Response.

        On top of that, Defendant argues that Plain�ﬀ’s counsel engaged in improper billing. As is shown
below, there is no substance to that allega�on. Plain�ﬀ’s request for fees and costs is en�rely
reasonable, supported by law, and they should be awarded in full.

2.      Plain�ﬀ Was Not Partially Successful

        In this case, Defendant received a par�ally successful summary judgment ruling. Respec�ully,
Plain�ﬀ believes that the Court erred in holding that she fell within the scope of the FLSA’s
administra�ve exemp�on and planned to appeal that ruling a�er reaching a ﬁnal judgment at trial.
However, because Defendant was ul�mately willing to setle her over�me claim at an amount that

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Plain�ﬀ considered reasonable—providing value to Plain�ﬀ for the entirety of her over�me claim—
Plain�ﬀ was willing to forego that appeal right and end the li�ga�on sooner rather than later.

        It is en�rely specula�ve for Defendant to claim only par�al success by Plain�ﬀ when no ﬁnal
judgment was rendered, and it is impossible to analyze how much she would have recovered for both
employment periods at issue. While most of the three-year statutory period related to the
Implementa�on Analyst posi�on that the Court found to be exempt, Plain�ﬀ tes�ﬁed that she worked
signiﬁcantly more over�me during her �me as a Project Manager. Dkt. 14-1 (Deposi�on of Talia
Harrison), pp. 176:1–7; 233:4 to 234:9. It is also possible that good faith or willfulness might have
aﬀected the amount of recovery as to one or the other employment periods. In other words, there is no
objective way to accurately reconstruct how Plain�ﬀ’s damages would have diﬀered with or without the
Implementa�on Analyst hours included. And, of course, assuming that Plain�ﬀ’s appeal would have
been unsuccessful.

         The best objective measure of Plain�ﬀ’s success in this case is what she was willing to setle the
case for before summary judgment, and then what she ul�mately obtained in setlement a�er summary
judgment. Such analysis does not support Defendant’s posi�on that Plain�ﬀ was only par�ally successful
in this case. In fact, it clearly shows the opposite.

        In January 2022, early in this case, the Par�es atended a media�on with Will Pryor. The
media�on ended unsuccessfully with a ﬁnal demand from Ms. Harrison for $20,000 plus fees and costs
to be determined by the Court. Defendant’s ﬁnal oﬀer at media�on was $8,000 plus fees and costs. A�er
media�on, Defendant served a Rule 68 Oﬀer of Judgment for $15,000 plus fees and costs. It was not
accepted. See Exhibit 1, passim.

         Defendant argues that the Court’s par�ally adverse ruling on summary judgment renders
Plain�ﬀ only par�ally successful in this li�ga�on and only par�ally en�tled to recover her atorney’s fees.
But the actual numbers that the par�es were willing to put on the table belie that facile analysis. A year
a�er the media�on—and a�er the Court issued its summary judgment Order—the Parties ultimately
settled for $23,000 with the Court to determine fees and costs. Thus, a�er summary judgment, Plain�ﬀ
obtained a setlement substantially more favorable than what she had oﬀered to Defendant a year
previously. That is no par�al success. Objec�vely, it was a very favorable result. And that result is the
only objec�ve measure available to evaluate Plain�ﬀ’s success.

        While courts do not reduce atorney fees solely on the basis of the amount of damages
obtained, Gurule v. Land Guardian, Inc., 912 F.3d 252, 262–63 (5th Cir. 2018) (Ho, J., concurring)
(quota�on omited), that does not alter the fact that “[t]he most cri�cal factor in determining an
atorney’s fee award is the ‘degree of success obtained.’ ” Id. (quo�ng Saizan v. Delta Concrete Prods. Co.,
448 F.3d 795, 799 (5th Cir. 2006)). As Judge Ho explained in that concurrence, “[t]hese principles are not
in conﬂict. . . . Atorney �me must be spent in service of the best interests of the client. So where
atorney �me exceeds client value to a signiﬁcant degree, courts should be suspicious. The overarching
ques�on that courts should ask in such circumstances is whether the atorney expended the �me in a
good faith pursuit of value for the client — or was instead engaged in churning atorney fees.” Id.

         As shown in the atached declara�on of Mathew W. Herrington, analysis of the facts and law in
this case was all of one piece. Exhibit 2 hereto (Declara�on of Mathew W. Herrington), passim. While
the Court found a signiﬁcant dis�nc�on at summary judgment between Plain�ﬀ’s two job posi�ons, her


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counsel treated the en�rety of her employment as of a single piece, a strategy supported by Plain�ﬀ’s
own characteriza�on of her du�es as being essen�ally the same in both posi�ons. Id. No signiﬁcant �me
was spent on issues solely rela�ng to the Implementa�on Analyst posi�on, and no signiﬁcant �me could
have been omited if only the Project Manager posi�on had been considered. They were largely the
same job, one simply required less direct client contact. Nothing about that dis�nc�on aﬀected the work
that counsel performed on this case, other than a negligible amount of addi�onal �me spent on a
sec�on of Plain�ﬀ’s response brief at summary judgment.

3.      No Adjustment of the Lodestar is Warranted

         The Supreme Court has described the lodestar ﬁgure as “the guiding light of our fee-shi�ing
jurisprudence.” Gisbrecht v. Barnhart, 535 U.S. 789, 801 (2002) (quoting Burlington v. Dague, 505 U.S.
557, 562 (1992)). It has stressed the reasonableness of the lodestar amount as a “strong presump�on”
which may be overcome in “rare circumstances.” Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554, 130
S. Ct. 1662 (2010); see also 5 Larson on Employment Discrimination § 97.09 (2023).

        Defendant misrepresents the proper use of the Johnson factors—which may some�mes be used
to jus�fy a modiﬁca�on of the lodestar—when it states that:

        A�er calcula�ng the lodestar—the number of hours reasonably spent on the case
        mul�plied by an appropriate hourly rate in the community for such work—the court
        may decrease the lodestar amount based on the twelve Johnson factors.

Dkt. 47, pg. 4 (emphasis added). In reality, the Johnson factors may guide a district court in either
increasing or decreasing the lodestar. Saizan v. Delta Concrete Prods. Co., 448 F.3d 795, 800 (5th Cir.
2006) (“A�er calcula�ng the lodestar, the court may decrease or enhance the amount based on the
rela�ve weights of the twelve factors set forth in Johnson.”). Of course, some of the factors are already
incorporated into the lodestar and may not be counted twice, and the others are applicable only in very
special circumstances given the presumed validity of the lodestar. Perdue v. Kenny A., 559 U.S. 542, 552,
130 S. Ct. 1662 (2010); see also 10 Moore’s Federal Practice - Civil § 23.124 (2023) (“Supreme Court has
disfavored adjustments to the lodestar, showing a marked preference for a single step inquiry”).

        Defendant argues that Plain�ﬀ’s fee should be reduced from the lodestar because:

        •   The case was not novel or especially diﬃcult;


        •   Plain�ﬀ’s counsel was not precluded from accep�ng other cases;


        •   The lodestar would compensate Plain�ﬀ’s counsel more than a tradi�onal con�ngency
            arrangement; and


        •   The case was not undesirable.




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Dkt. 47, pp. 6–12. It does so in only the most general and generic terms and iden�ﬁes nothing that could
be called special circumstances.

         The issues of novelty and complexity are presumably fully reﬂected in the number of billable
hours recorded by counsel and thus do not support modiﬁca�on of a fee based on the number of
billable hours mul�plied by reasonable hourly rates. Blum v. Stenson, 465 U.S. 886, 898-99 & n.16, 104 S.
Ct. 1541, 1549 (1984); see also 5 Moore’s Federal Practice - Civil § 23.124 (2023).

         Defendants also argue—generically, and with no meaningful explana�on—that the lack of
novelty in this case warrants reduc�on of the lodestar. Defendant having provided no speciﬁc evidence
in support of this characteriza�on, Plain�ﬀ has nothing to rebut. Plain�ﬀ would also note that this factor
is already subsumed in the lodestar amount and cannot properly be considered with respect to
adjustments of the lodestar. Geoﬀrion v. Nationstar Mortg. LLC, No. 4:14-cv-350, 2016 U.S. Dist. LEXIS
62723, at *5 (E.D. Tex. May 12, 2016) (ci�ng Heidtman v. Cty. of El Paso, 171 F.3d 1038, 1043 (5th Cir.
1999)); see also Blum v. Stenson, 465 U.S. 886, 898–900, 104 S. Ct. 1541 (1984), Pierce v. Underwood,
487 U.S. 552, 573, 108 S. Ct. 2541, 2554 (1988) (“ ‘novelty and diﬃculty of issues,’ ‘the undesirability of
the case,’ the ‘work and ability of counsel,’ and ‘the results obtained,’ . . . are factors applicable to a
broad spectrum of li�ga�on; they are litle more than rou�ne reasons why market rates are what they
are.”).

        As to Defendant’s argument regarding the con�ngency vs. tradi�onal fee arrangement, the
Supreme Court has barred any use of that sixth Johnson factor. See Halupka v. Fed. Express Corp., No.
4:03-cv-350, 2006 U.S. Dist. LEXIS 115957, at *15 (E.D. Tex. June 22, 2006) (ci�ng Walker v. U.S. Dept. of
Hous. and Urban Dev., 99 F.3d 761, 772 (5th Cir. 1996)).

        Finally, Defendant claims that because this case was not undesirable, that the lodestar must be
reduced. Again, Defendant provides no speciﬁc facts and not a single example of the lodestar being
adjusted downward because the case was not remarkably undesirable. This argument is silly and nothing
more can be said about it.

        In short, Defendant has made not even the barest showing of special circumstances that would
warrant devia�ng from the strong presump�on that the lodestar is the reasonable fee. No adjustment to
the lodestar can be supported on this record.

4.      Plain�ﬀ’s Counsel’s Billing Was Appropriate

       Plain�ﬀ is ready to concede a small por�on of the fees that Defendant describes as improper,
but simply to save the Court’s resources, which should not be wasted arguing over minu�ae.

        Amended Complaint

        Plain�ﬀ already reduced the sec�on “04-Amended Complaint/Answer” by $858.00 by no
charging another entry. To simplify the Court’s eﬀort, Plain�ﬀ withdraws this request for $234.00.

        Deposi�ons

       As to Plain�ﬀ’s counsel �me spent in connec�on with deposi�ons, Defendant’s arguments miss
the mark. Plain�ﬀ’s billing records (Dkt. 44-7 through 44-8) demonstrate that most of the eﬀort in this
category ($3,978) is related to the deposi�on of the Plain�ﬀ: On January 18, 2022, Mr. Herrington notes,


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“Review client documents; deposi�on prepara�on mee�ng with client” and on January 19, 2022, the
entry reads, “Deposi�on of client; calls with CRB [Charles R. Bridgers] re deposi�on issues; mee�ngs with
clients.” These entries are simple, clear, and directly related to one aspect of a day’s work. Defendant’s
claims that these entries are “block billing” is boilerplate that the Court should disregard. 1

        While the entries for Mr. Bridgers under “Deposi�ons” ($365.40) are appropriate for planning
and reference, Plain�ﬀ withdraws them from the Mo�on because the amounts are too small to jus�fy
the Court’s aten�on.

        Mo�ons

        Defendant is correct that most of the entries under the “Mo�on” category are for the Fee
Pe��on and then downplay the mo�on as “rou�ne.” First, undersigned counsel’s “rou�ne” prac�ce in
FLSA cases is to agree with the opposing party on the amount of fees, which Defendant and its counsel
refused to discuss in any meaningful way. Instead, Defendant forced Plain�ﬀ to ﬁle this Mo�on and
Reply. Also, Defendant’s posi�on that this was Mo�on is “rou�ne” is belied by the fact that it is opposing
the Mo�on and billing entries on an almost line-by-line basis.

        Substan�vely, Defendant’s analysis of the Mo�on as only 6 pages ignores the actual eﬀort
required. This Mo�on required substan�al declara�ons from three atorneys and dozens of pages of
exhibits. Every line of these sworn statements and billing records had to be scru�nized. The �me actually
incurred was in excess of the es�mates. This reply brief alone has taken more than 7 hours of atorney
�me, far in excess of Plain�ﬀ’s ini�al request. 2 No reduc�on is appropriate.




        Legal Research, Miscellaneous Case Eﬀorts, and Factual Development

         Ini�al decisions—including where to bring a case and what theories to use—are important
strategic decisions. These decisions impact much of what happens during en�re course of the li�ga�on.
Plain�ﬀ’s over�me claim was successful because of these decisions. Reasoned considera�on and
conversa�on among counsel is, therefore, necessary and appropriately billed. Similarly, supervisory



    1
         As the Fi�h Circuit has explained: “prac�cal considera�ons of the daily prac�ce of law in this day
and age preclude ‘wri�ng a book’ to describe in excrucia�ng detail the professional services rendered for
each hour or frac�on of an hour.” League of United Latin American Citizens No. 4552 (LULAC) v. Roscoe
Ind. Sch. Dist., 119 F.3d 1228, 1233 (5th Cir. 1997) (quo�ng Louisiana Power & Light Co. v. Kellstrom, 50
F.3d 319, 327 (5th Cir. 1995). Courts may examine the reasonableness of billing entries based on “the
number of hours spent on such tasks, the more detailed entries surrounding them, and their dates of
entry, which indicates the point in the proceedings in which the par�cular services were rendered.”
Olibas v. Native Oilﬁeld Servs., LLC, 104 F. Supp. 3d 791, 811-12 (N.D. Tex. 2015). Plain�ﬀ has no fear that
the Court will immediately recognize that her counsel’s eﬀorts in this case were extremely eﬃcient and
that no unnecessary billing occurred.
    2
        Undersigned counsel Bridgers and Herrington state this sentence “in their place” as if under
oath.

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direc�on to other staﬀ members serves the purpose of 1) represen�ng the client well and 2) dividing the
work appropriately so that the least expensive staﬀ member capable of doing a task actually does so.
The most senior atorney on the case naturally provided supervision to ensure that that more junior
atorney’s decisions were sound. That is the heart of eﬃcient delega�on of legal du�es. Defendant’s
generalized and unspeciﬁc objec�ons cri�cizing these eﬀorts necessarily fail. Again, though, Plain�ﬀ is
not seeking to force this court into a nickel-and-dime analysis. Plain�ﬀ will withdraw the following �me
entries (8/3/2021 for $43.50; 9/29/201 for $43.50; and 7/22/2022 for $43.40), for no other reason than
to avoid was�ng this very busy Court’s �me.

        Legal Research, Miscellaneous Case Eﬀorts, and Factual Development

         Defendant’s complaints regarding legal research relate to �me spent on what it calls “abandoned
legal theories.” It points to a small amount of �me spent researching the “necessity of pleading
aﬃrma�ve defenses and standard for more deﬁnite statement mo�on” and concludes that this research
was unnecessary because no such mo�on was ﬁled. This argument is nonsense. The ques�on at hand is
whether the eﬀort was reasonably undertaken. As Judge Ho explained in his concurrence in Gurule v.
Land Guardian, Inc.,

        To be sure, not every atorney task will ul�mately pay oﬀ for the client, even amongst
        the most conscien�ous of counsel. A legal theory might seem genuinely promising at the
        outset, but ul�mately bear no fruit. Atorney �me may be reasonably spent, even if it
        does not actually result in client value.

912 F.3d 252, 262 (5th Cir. 2018). Here, Plain�ﬀ’s counsel—in their professional judgment—undertook a
small amount of legal research to examine whether more explicit pleadings could be demanded from the
Defendant. Plain�ﬀ’s counsel ul�mately decided not to do so, but Defendant has made no showing that
such minor inves�ga�ons into the issue were unreasonable.

         Defendant also complains that Plain�ﬀ went to great lengths to obtain document produc�on
from it—unwillingly—and then didn’t even use any of those documents at summary judgment. Defense
counsel can perhaps be forgiven for forge�ng that li�ga�on does not end at summary judgment. This
case very well could have proceeded to trial. Here, Plain�ﬀ obtained voluminous emails that evidenced
the day-to-day work of Plain�ﬀ to protect against later mischaracteriza�ons by Defendant of her job
du�es. 3 As necessary as it was to obtain these documents, they were in fact not necessary to defend
against a mo�on for summary judgment. This is because Plain�ﬀ Harrison could very easily show the
court a dispute of material fact through a simple declara�on, which she did. At summary judgment,
when the facts had to be interpreted in Plain�ﬀ’s favor, there was no reason to scour thousands of
emails to reconstruct a day in the life of Talia Harrison. Plain�ﬀ didn’t have the burden of proof at


    3
         Such fears are well-founded given the history of this Defendant and this defense counsel’s
history of dishonesty before the court. See Greene v. Tyler Techs., 526 F. Supp. 3d 1325, 1331 n.5 (“it is
exaspera�ng that Tyler advances this argument when, throughout its brieﬁng, it misrepresents and
stretches Plain�ﬀ’s tes�mony. . . . To characterize this as ‘undisputed evidence’ . . . is disingenuous.
Similarly, Defendant mischaracterizes Plain�ﬀ’s brief . . . . The Court has discovered other examples of
this stretching of the actual tes�mony, as well. These slanted and inaccurate representa�ons are not
appreciated. The Court expects beter.”).

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summary judgment. In fact, using that evidence and spending dozens of hours organizing it and
quan�fying it would have been nothing short of the “churning” that this Court is tasked with guarding
against. Plain�ﬀ’s counsel did not undertake unnecessary eﬀorts at any stage of this li�ga�on. But that
does not decrease by one iota the value of ge�ng the document produc�on that Plain�ﬀ fought so long
and so hard to obtain.

        As to several of the smaller entries of “unproduc�ve” �me that Plain�ﬀ’s counsel allegedly
spent, Plain�ﬀ cannot tell which ones are opposed. As to the entries Plain�ﬀ can iden�fy, they are
appropriate:

        •       The Bridgers entry for $69.60 on 4/12/2022 relates to a discussion about discovery. The
                Bridgers entry for $93.50 on 3/3/2022 is a conversa�on on the strategy for opposing
                Defendant’s summary judgement Mo�on. For the reasons stated above, such strategic
                consulta�on is not only appropriate, but it is cri�cal to a successful case outcome.

        •       As to Mr. Herrington’s entries, the 2/24/2022 entry ($109.20) relates to an 18-minute
                discussion with co-counsel on a protec�ve order. This Protec�ve Order, brought to the
                Court on a joint mo�on, was eventually entered in this case. (Dkt. 21) Defendants have
                raised no substan�ve reason that this order was wasteful or unnecessary.

        •       As to the entries for $1,053 on August 25, 2022, and for $507.00 on August 29, 2022,
                Defendant apparently cri�cizes Mr. Herrington’s review of documents produced in the
                li�ga�on. Not reviewing evidence would have been foolish on counsel’s part. Charging
                for doing so is, therefore, appropriate.


        Plain�ﬀ will, however, withdraw the $17.00 entry for J. Sorren�, paralegal, from April 25, 2022,
to simplify the Court’s analysis.

5.      Conclusion

        Based on the foregoing, Plain�ﬀ requests that the Court issue a ﬁnal judgment in her favor
including $25,806.70 in atorney’s fees (i.e., $26,553.50 less $746.80 ($234.00 + 365.40 + $43.50 +
$43.50 + $43.40 + $17.00) and $1,271.00 in costs.

Respec�ully submited this 20th day of April 2023,

                                                     DELONG CALDWELL BRIDGERS
                                                     FITZPATRICK & BENJAMIN, LLC

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                                                   ATTORNEYS FOR PLAINTIFF




                                      CERTIFICATE OF SERVICE


       On April 20, 2023, I ﬁled the foregoing document with the Clerk of Court using the CM/ECF
system of the Court. I cer�fy that all counsel of record were served electronically thereby.


                                                       s/Melinda Arbuckle
                                                       Melinda ArbuckleApril 20, 2023




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